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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

  CATHERINE DARLING, KARA ALBACH,       Case No. __________
  CARISSA ALBERTS, LIZANNE ALVAREZ,
  SHAWNA AUSTIN, JORDYNN AVERIETT-
  TALLEY, LISA BAKER, LORIS BAUGH,
  REBEKAH BAUGH, JEFFREY BEARD,
  KRISTEN BECKER, KITTIMA BEGIER, ANISE
  BENNETT, TIFFANY BILYY, DONNA
  BODNER, TIMOTHY BOYETT, KELLI
  BRADDOCK, REBECCA BRADLEY, OLIVIA
  BRASWELL, JOSHUA BROWN, TRACY
  BURNHAM, MELINDA CHAMBERS, ALESA
  CLARK, JOY CONNER, ERNIE CYR, BROOKE
  DAVIS-PERRY, DAWN DEKARD, REBECCA
  DIGANGI, JORDAN DILAURO, TRACIE
  DOVE, LAVONNE DOWNING, SCOTT
  DUNKLEY, ROSE DUNN, HERBERT
  DUPREE, ERIKA EDDINS, MELISSA
  ELLINGTON, MELISSA ELLIOTT, EDWARD
  ERNST, ANGELA ESPINOSA, AMY FARLEY,
  KRISTINE FAULK, TAMMY FELL, ADRIA
  FORBES, WENDY GARCIA, SHARLETT
  GATHERS, BRANDI GEOGHAGAN, JEFFERY
  GERKEN, DEBRA GILLIS, TERESA GOLDEN,
  NAOMI GOLINO, MICAH HALLMAN,
  ELIZABETH HAMILTON, RENA
  HARDIMAN, CARLEIGH HARRISON,
  BARBARA HATTAWAY, LADORA HAUPT,
  RONDA HEAD, JUDITH HEGGDAL,
  CHRISTOPHER HELENTHAL, PAUL
  HERNANDEZ, LORI HOGAN, MARCUS
  HOLLERS, ANDREA HOUGLAND, JANINE
  HUNT, EDDIE HYATT MD, AMANDA
  JACKSON, STEVE JOHNSON, BARBARA

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  KARLOVICH, AIMEE KELLER, TRISTAN
  EDWARD KLIP, PAOLA KRISTUFEK, MARY
  LAFSER, LAURA LANDRIEU, JASON
  LANGFORD, PAMELA LANGLEY, LAURA
  LATELY, MARGARET LAZAR, DORIS (J.)
  LEARY, RIEFLER LEE, ATHENA LEMAY,
  KATHERINE LONG, RACHEL LOVELY,
  KATHERINE MADIGAN, GARY "KEVIN"
  MAHER JR, ROBERT MAJOR, KRISTINA
  MARTIN, STEPHANIE MASAT, BREANA
  MATZEN, ANN MAULBECK, CAMERON
  MCCAIG, KRISTY MCCLINON, LISA
  MCKINLEY, DONNA MCLENDON, TRICIA
  MITCHELL, SAUNDRA MOOR, LISA
  MORTON, MICHELLE MOSLEY, KELLY
  MOTES, TAMMY NELSON, ALICIA
  NETTLES, MARSHA NORRIS, VIRGINIA
  O'BERRY, TABATHA OUELLETTE,
  CAROLINE PAPAGEORGE, KIRSTEN
  PATTON, MICHELLE PAULSON,
  SHANNON PEPPERDENE, DEAN PLATT,
  PATRICIA POTTS, SANDY PRICE, ASHLI
  PUTTBACH, BAILEY RAY, JASON
  RICHARDS, JENNIFER RICHARDSON,
  KRISTINA RIJO, MELISSA ROBERTSON,
  ALMA MARIE RODRIGUEZ, ALADION
  ROLDAN, ALEXANDRA ROLDAN, JOANNE
  SAJOWITZ, MORGAN SALO, MARTHA
  SANCHEZ-SILVA MD, CHERISE SANDERS,
  MICHAEL KEITH SARTIN JR., PAM SASSER,
  KENDRA SCARBERRY, BONNIE SCHMIDT,
  DENISE SEIGLER, NOPHIE SEVERNS, LYNN
  SHORTINO, ANTONIO SILVA, LLOYD
  SLOAN, CHRISTY SMITH, CONSHONDRA
  SMITH, MICHELLE SNOW, JACEY
  SOKELAND, DARNITA SPANN, LESLIE
  STREET, CHAINA STRENGH, CAMDIDO

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  "TREY" SUAREZ, RYAN SULLIVAN, GLEN
  SUMMERS, TRISA SUTTON, MICHAEL
  SWEENY, JENNIFER THOMAS, ROBERT
  THOMPSON, ELIZEBETH TOWNLEY, KARA
  TREMATERRA, SARAH TURNER, SHERIF
  TWEFIK, JOHNNY VASQUEZ, STACEY
  VAUGHN, SVETLANA VOLOSHCHUK,
  CYNTHIA WALKER, MARIA WALLS, ANNA
  WESTERMAN, MATTHEW WILKERSON,
  RUTH WILKERSON, CASEY WILLET,
  TANYA WOLFF, BRITTANY WOOLFORD,
  LISA WRAGG, PAIGE YARBOROUGH,
  SHANNON YOUNGBLOOD

                    Plaintiffs,

 v.

 SACRED HEART HEALTH SYSTEM, INC., a
 Florida nonprofit corporation, ST.
 VINCENT’S HEALTH SYSTEM, INC., a
 Florida nonprofit corporation, ST.
 VINCENT’S MEDICAL CENTER-CLAY
 COUNTY, INC., a Florida nonprofit
 corporation, ST. VINCENT’S AMBULATORY
 CARE, INC., a Florida nonprofit corporation,
 ST. VINCENT’S MEDICAL CENTER, INC., a
 Florida nonprofit corporation, ST. LUKE’S-
 ST. VINCENT’S HEALTHCARE, INC., a
 Florida nonprofit corporation, and
 ASCENSION HEALTH ALLIANCE, a
 Missouri non-profit corporation,

               Defendants.
 _____________________________________/



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                            VERIFIED COMPLAINT FOR
                       DECLARATORY AND INJUNCTIVE RELIEF

         COME NOW Plaintiffs, requesting the Court enter declaratory

judgments for Plaintiffs and immediately enter a TRO (with notice) and/or

an emergency preliminary injunction pursuant to Fed. R. Civ. P. 65,

forbidding the Defendants and their agents, affiliates, subsidiaries, and all

persons acting in concert with them, from terminating or disciplining the

Plaintiffs for failing to comply with Defendants’ Mandatory Vaccination

Policy, and saying:

                                                    Introduction

         The Biden Administration began its aggressive campaign to vaccinate

every American in July, focusing on private employers as a key part of its

national strategy. By July 28, 2021, Ascension — the second-largest hospital

chain in the country, with half or more of its revenue controlled by the

federal government, and now addicted to billions of dollars in CARES Act

pandemic funding — fell into line, and ordered its employees to be

vaccinated for Covid or seek employment elsewhere. It also cancelled all

existing vaccine-related religious exemptions — longstanding exemptions




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that it had been routinely granting for years. It told employees to re-apply in

the fall for those previously-approved, longstanding exemptions.

         When the employees re-applied in the fall, they were provided with a

brand-new website for exemption requests, combining the previous process

for obtaining flu vaccine exemptions with the new Covid vaccine

requirement. The new “exemptions portal” had a novel feature: a box that

employees had to check in order to submit their exemption request. The box

said the employees agreed that, if their requests were denied, then they

would “voluntarily resign.” Check the box to proceed.

         Ascension then summarily denied all or nearly all employee

exemptions.1

         Unsatisfied with employee mandates, Ascension followed the federal

government’s lead and also required all contractors and providers to

mandate vaccination, or else their contracts would be terminated, creating a

daisy-chain of coerced, unwanted medical treatments forced on ordinary,

law-abiding Americans under threat of severe economic dislocation.




1Since receiving the Plaintiffs’ demand letter a couple weeks ago, Ascension has started “re-considering”
exemptions and approving a few here and there, in a transparent attempt to defend its indefensible
conduct.


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         Ascension’s timing is not terrific. Florida now has the lowest Covid-19

infection rate in the United States. The survival rates for Covid-19 infected

patients between the ages of 20 and 50 —like the majority of the Plaintiffs—

is over 99.98%. Even between ages 50 to 70 it exceeds 99.5%. These statistics

include infected people at high risk for Covid mortality. The Plaintiffs — all

frontline healthcare workers — are much healthier overall than the general

population. Many of them have already acquired natural immunities to the

disease from on-the-job exposure. The Plaintiffs’ chances of survival are

much higher even than the stock figures.

         In other words, Ascension’s Vaccine Mandate offers no statistical

benefit to its hospitals in terms of reducing mortality over baseline levels.

The vaccines do not prevent transmission. There is no rational basis for

Ascension’s coercive policy except that it is being compelled to do so by the

federal government, and it has agreed to help the federal government

effectuate a broad national public health objective.

         Like the employees whose livelihood is being threatened by

Ascension, Ascension’s livelihood is being threatened by the federal

government.



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         Because the federal government cannot directly mandate vaccines —

that would be an unconstitutional invasion of the right to privacy and bodily

autonomy —it has created a web of related and unrelated federal threats,

bribes, incentives and sanctions designed to coerce private actors like

Ascension to do what it cannot: require citizens to accept unwanted medical

treatments.

         The Ascension Group’s Vaccine Mandate does not further the

hospitals’ mission of treating individual patients. Instead, it implements and

furthers the traditional government job of broad public health management

by effectuating delivery of federal property (the vaccines) into the bodies of

private citizens. The Defendants are not acting voluntarily, but rather have

been       massively            incentivized               and   coerced   into   implementing   the

government’s policy through its Vaccine Mandate — trampling Plaintiffs’

state and federal statutory and constitutional religious liberties and privacy

rights.

                                         Jurisdictional Allegations

         1.        This Court has jurisdiction to hear this case under 28 U.S.C. §

1331, which confers original jurisdiction on federal district courts to hear

suits arising under the laws and Constitution of the United States, as well as

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under 42 U.S.C. § 1983 relating to Defendants’ intent to deprive Plaintiffs of

certain rights, privileges, and immunities.

         2.        This Court has the authority to award the requested declaratory

relief under 28 U.S.C. § 2201, the requested injunctive relief under 28 U.S.C.

§ 1343(a), and attorneys’ fees and costs under 42 U.S.C. § 1988.

         3.        The Northern District of Florida is the appropriate venue for this

action pursuant to 28 U.S.C. §§ 1391(b)(1) and (2) because it is the district in

which Defendant Sacred Heart Health System, Inc. resides, and because

Ascension Health is a foreign corporation subject to long-arm jurisdiction in

Florida. It is also the district in which a substantial part of the events giving

rise to Plaintiffs’ claims have occurred and continue to occur.

         4.        Defendant ASCENSION HEALTH ALLIANCE is a Missouri

nonprofit corporation (“Ascension Health”), and may be served via its

registered agent CSC-Lawyers Incorporating Service Company, 221 Bolivar

St., Jefferson City, MO 65101. This Court has long-arm jurisdiction over

Ascension Health since it conducts substantial business activity in Florida




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through its local subsidiaries, enjoys a unity of identity with them, and is

responsible for implementing the policy giving rise to Plaintiffs’ claims.2

         5.        Defendant SACRED HEART HEALTH SYSTEM, INC. is a

Florida not for profit corporation headquartered and operating in Pensacola,

Florida (“Sacred Heart”). Sacred Heart may be served at Corporation Service

Company, 1201 Hays Street, Tallahassee, FL 32301-2525. Sacred Heart

employs more than 1,000 workers and is a subsidiary or affiliate of

Ascension Health.

         6.        Defendant ST. VINCENT’S HEALTH SYSTEM, INC. is a Florida

not for profit corporation headquartered and operating in Jacksonville,

Florida (“St. Vincent’s”). St. Vincent’s may be served at Corporation Service

Company, 1201 Hays Street, Tallahassee, FL 32301-2525. St. Vincent’s




2 “Generally, a foreign parent corporation is not subject to the jurisdiction of a forum state merely because
a subsidiary is doing business there.” Consol. Dev. Corp. v. Sheritt, Inc., 216 F.3d 1286,1293 (11th Cir. 2000).
“On the other hand, if the subsidiary is merely an agent through which the parent company conducts
business in a particular jurisdiction or its separate corporate status is formal only and without any
semblance of individual identity, then the subsidiary’s business will be viewed as that of the parent and
the latter will be said to be doing business in the jurisdiction through the subsidiary for purposes of
asserting personal jurisdiction.” Sehringer v. Big Lots, Inc.,532 F.Supp.2d 1335, 1338 (M.D. Fla. 2007) (citation
omitted) (finding Florida’s long arm statute satisfied and finding “sufficient minimum contacts between
the [parent corporation] and Florida so as to satisfy ‘traditional notions of fair play and substantial justice’
under the Due Process Clause of the Fourteenth Amendment,” where the “collective activities” of the
parent demonstrated that the Florida subsidiary was “a vehicle through which [the parent] conduct[ed] its
business”); see also Keeley v. Airgas, Inc., 2008 WL 5422691 at *14 (W.D. Mich. 2008) (citing Sehringer v. Big
Lots, Inc., 532 F.Supp.2d 1335 (M.D. Fla. 2007) (finding that parent’s “identity [wa]s merged enough with
its subsidiaries to be subject to personal jurisdiction”).


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employs more than 1,500 workers and is a subsidiary or affiliate of

Ascension Health.

         7.        Defendant             ST.       VINCENT’S   MEDICAL   CENTER-CLAY

COUNTY, INC. is a Florida not for profit corporation headquartered and

operating in Jacksonville, Florida (collectively with all St. Vincent entities,

“St. Vincent’s”). St. Vincent’s may be served at Corporation Service

Company, 1201 Hays Street, Tallahassee, FL 32301-2525. St. Vincent’s

Medical Center-Clay County is a subsidiary or affiliate of Ascension Health.

         8.        Defendant ST. VINCENT’S AMBULATORY CARE, INC. is a

Florida not for profit corporation headquartered and operating in

Jacksonville, Florida (collectively with all St. Vincent entities, “St.

Vincent’s”). St. Vincent’s may be served at Corporation Service Company,

1201 Hays Street, Tallahassee, FL 32301-2525. St. Vincent’s Ambulatory Care

is a subsidiary or affiliate of Ascension Health.

         9.        Defendant ST. VINCENT’S MEDICAL CENTER, INC. is a

Florida not for profit corporation headquartered and operating in

Jacksonville, Florida (collectively with all St. Vincent entities, “St.

Vincent’s”). St. Vincent’s may be served at Corporation Service Company,



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1201 Hays Street, Tallahassee, FL 32301-2525. St. Vincent’s Medical Center is

a subsidiary or affiliate of Ascension Health.

         10.       Defendant ST. LUKE’S-ST. VINCENT’S HEALTHCARE, INC. is

a Florida not for profit corporation headquartered and operating in

Jacksonville, Florida (collectively with all St. Vincent entities, “St.

Vincent’s”). St. Vincent’s may be served at Corporation Service Company,

1201 Hays Street, Tallahassee, FL 32301-2525. St. Luke’s-St. Vincent’s

Healthcare is a subsidiary or affiliate of Ascension Health.

         11.       Together, St. Vincent’s, Sacred Heart, and Ascension are

collectively referred to as “Ascension Group.”

         12.       Plaintiffs are 164 healthcare workers who work for or contract

with the Ascension Group and are subject to those firms’ employment

policies, including the employment policy at issue in this case.

         13.       Many of the Plaintiffs are already Covid survivors who now

have durable and long-lasting natural immunity.

         14.       The Plaintiffs are frontline healthcare workers who are not

essential to the Defendants’ spiritual and pastoral mission.




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                                                 The Defendants

          15.      Defendants Sacred Heart and St. Vincent’s are subsidiaries or

affiliates of Defendant Ascension Health.

          16.      The Defendants form a corporate network of Catholic hospitals

and refer to themselves as religious organizations.

          17.      Ascension Health exerts substantial operational control over its

subsidiaries, including Sacred Heart and St. Vincent’s, as demonstrated by,

inter alia:

                  a) Ascension Health describes itself on its “About” page as a

                       “faith-based healthcare organization,” which “includes more

                       than 150,000 associates and 40,000 aligned providers . . .[, and]

                       operates more than 2,600 sites of care – including 142 hospitals

                       and more than 40 senior living facilities – in 19 states and the

                       District of Columbia”;3




3About,

https://www.ascension.org/About?intent_source=nav_footer&_ga=2.59803301.966244912.1635022096-
410706024.1634564202 (last visited Oct. 23, 2021).


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                     b) It maintains a consistent website design and presentation, for

                       itself and its subsidiary hospitals and sites of care, including

                       those for Sacred Heart and St. Vincent’s;4

                     c) It implements systemwide initiatives such as its Green Teams

                       which collaborate with Environment of Care committees at

                       each Ascension site of care or hospital “to drive green

                       practices”;5

                     d) It uses common suppliers for its sites of care, such as the

                       common Food and Nutrition Services Provider it uses for its

                       hospitals;6 and

                     e) It implements common employment policies across the

                       Ascension Health system, such as the vaccination policy at




4       See      https://healthcare.ascension.org/locations/florida/flpen/pensacola-ascension-sacred-heart-pensacola;
https://healthcare.ascension.org/locations/florida/fljac/jacksonville-ascension-st-vincents-riverside/
(last visited Oct. 24, 2021). For example, the “career search” link at the top of both of these pages, leads to
a page with a search box for jobs across the Ascension Health system. At this page, there are descriptions
of “Life at Ascension,” including a common culture, benefit plan description, and mission of inclusion for
all Ascension Health “associates.” In addition, the map under “Our national network” on the career page
highlights Florida as one of Ascension Health’s locations.
5 See Fiscal Year 2021 Environmental Impact & Sustainability Report (“Sustainability Report”) at p.8,

attached as Exhibit 1. The Sustainability Report gives examples of how "associates across Ascension helped
the planet prosper and addressed climate change," on Earth Day this year, including examples of projects
at Ascension Sacred Heart Pensacola and at Ascension hospitals in Jacksonville. Id. at 9.
6   See id. at 14.


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                       issue in this suit, which applies to all Ascension “associates,”

                       including those employed at Sacred Heart and St. Vincent’s.7

                  f) Ascension Health’s subsidiaries are organized pursuant to its

                       common corporate purposes. For example, the Amended and

                       Restated Articles of Incorporation of St. Vincent’s Health

                       System, Inc. recites that its “purposes shall be consistent with

                       and supportive of the corporate purposes of Ascension Health

                       and Ascension.” See Amended and Restated Articles of

                       Incorporation of St. Vincent’s Health System, Inc., attached as

                       Exhibit 2.

         18.       Ascension Health also has a strong unity of financial interest

with its subsidiaries, evidenced by its “Community and Investor Relations”

page, which contains reports solely on the combined financials of Ascension

Health and its subsidiaries as one System,8 including, as of June 30, 2021,

“approximately 150,000 associates and 40,000 aligned care providers,

operating more than 2,600 sites of care – including 146 hospitals and more


7 See For safety of communities, Ascension to require COVID-19 vaccination for associates (July 27, 2021),

https://ascension.org/News/News-Articles/2021/07/27/15/59/Ascension-to-Require-COVID-19-
Vaccination.
8 See Community and Investor Relations, https://ascension.org/about/community-and-investor-relations
(last visited Oct. 24, 2021).


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than 40 senior living facilities – in 19 states and the District of Columbia . . .

.”9 The Management’s Discussion, the Ascension Consolidated Financial

Statements and Supplementary Information, attached as Exhibit 4, and the

Ascension Consolidated Statistical Information, attached as Exhibit 5, all

provide consolidated data on Ascension Health and its subsidiaries, without

differentiating between the data of Ascension Health and that of its

subsidiaries. Thus, the picture presented to investors and the public is one

of Ascension Health and its subsidiaries as a unified, cohesive, multistate

organization.

         19.       The Defendants do not require employees to subscribe to any

statement of faith.

         20.       Ascension Health created the vaccination policy at issue in this

case and each of the other Defendants is currently implementing and

enforcing the policy.

         21.       According to publicly available financial information, Ascension

Group received 1.796 billion dollars in federal aid related to the pandemic

for fiscal year 2020-21. See Management’s Discussion at p. 7. Ascension


9 Management’s Discussion and Analysis of Financial Condition and Results of Operations for Ascension

(“Management’s Discussion”) at p.1, attached as Exhibit 3.


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Group reported an operating income of $676 million and an investment-

buoyed $5.7 billion net income for the fiscal year ended June 30, 2021.10

Ascension Group has $15.5 billion in cash and operates a venture capital

fund.11

         22.       In 2019, Ascension Group was ranked the second-largest

hospital system in America.12

                                                   The Plaintiffs

         23.       The Plaintiffs are all doctors, nurses, and other healthcare

employees or contractors who work for one or more of the Defendants.

         24.       As an example of the individual Plaintiffs:

               a) Plaintiff Catherine Darling is an employee of St. Vincent’s who

                   resides in Duval County, Florida. She is a sonographer. She

                   recovered from COVID-19 in July of 2020. She applied for a

                   religious exemption to the Vaccine Mandate, based on her




10 See “Ascension latest nonprofit to rebound with $5.7B net income for 2021,” available at:
https://www.fiercehealthcare.com/hospitals/ascension-latest-nonprofit-to-rebound-5-7b-net-income-
for-2021.
11        See         Wikipedia,       “Ascension                   (Company),”   available      at:
https://en.wikipedia.org/wiki/Ascension_(company).
12See Becker’s Hospital Review, “100 of the largest hospitals and health systems in America | 2019,”
available at: https://www.beckershospitalreview.com/largest-hospitals-and-health-systems-in-america-
2019.html.


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                   sincerely held religious belief in opposition to being vaccinated

                   for COVID-19, rooted in her Catholic faith. Her request for a

                   religious exemption was supported by two letters from Father

                   Joseph Kuhlman, a Catholic priest at her diocese in St.

                   Augustine, Florida. In the first letter, dated August 30, 2021,

                   Father Joseph Kuhlman notes that “Catherine Darling is a

                   baptized and practicing Catholic who is seeking a religious

                   exemption from an immunization requirement.” See Father

                   Joseph Kuhlman’s First Letter at p.1, attached as Exhibit 6. He

                   goes on to “explain[] how the Catholic Church’s teachings may

                   lead individual Catholics, including Catherine, to decline certain

                   vaccines.” See id. In a second letter, Father Kuhlman demands

                   that Plaintiff Darling be exempted from the “unjust imposition

                   of these ‘shots.’” See Father Joseph Kuhlman’s Second Letter at

                   p.1, attached as Exhibit 7. Father Kuhlman further states that

                   “[t]ransgressing the domain of conscience and personal moral

                   integrity is a severe form of violence against the dignity of the

                   human person[, and that n]o employer or government official

                   has the right to force a human person to get this said ‘vaccine.’”

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                   Id. Despite this, St. Vincent’s denied Plaintiff Darling’s

                   application for a religious exemption from the Vaccine Mandate.

                   St. Vincent’s also denied her appeal. If she does not provide

                   proof of vaccination on or before November 12, 2021, she will be

                   placed on unpaid leave and removed from St. Vincent’s work

                   schedule.

              b) Plaintiff Carissa Alberts is an employee of Sacred Heart who

                   resides in Escambia County, Florida. She is a registered nurse.

                   She applied for a religious exemption to the COVID-19 Vaccine

                   Mandate based on her sincerely held Christian religious beliefs,

                   including her objection to the use of fetal cell lines from elective

                   abortions in the testing, development, or production of the

                   available vaccinations for COVID-19. Sacred Heart denied her

                   request for a religious exemption from the Vaccine Mandate,

                   stating she has until November 12, 2021, to comply. She was

                   subsequently instructed by her manager to send a resignation

                   email, which she has not done because she wants to maintain her

                   employment at Sacred Heart.



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              c) Plaintiff Lizanne Alvarez is an employee of St. Vincent’s and

                   resides in St. John’s County, Florida. She is a registered nurse

                   and has worked for St. Vincent’s for nine years. She submitted

                   an application for a religious exemption to the Vaccine Mandate

                   based on her sincerely held religious beliefs, including her

                   objection to benefitting from abortion. St. Vincent’s denied her

                   request for a religious exemption. She filed an appeal, which St.

                   Vincent’s also denied. She also submitted a request for a

                   religious exemption to St. Vincent’s influenza vaccination

                   requirement, which St. Vincent’s denied initially and then

                   spontaneously granted.

              d) Plaintiff Rose Dunn was an employee of St. Vincent’s who

                   resides in Baker County, Florida. She is a registered nurse, and

                   worked for Ascension from 2003 until she was constructively

                   terminated in October of 2021. She tested positive for COVID-19

                   in August of 2021, and has since recovered. She applied for a

                   religious exemption from the Vaccine Mandate, which St.

                   Vincent’s denied, resulting in her forced resignation.



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              e) Plaintiff Lisa Baker is an employee of St. Vincent’s and resides in

                   Duval County, Florida. She has worked for St. Vincent’s since

                   2013, and has been a lead MRI technologist there since 2018. She

                   applied for a religious exemption to the Vaccine Mandate based

                   on her sincerely held religious beliefs, including her opposition

                   to benefitting from abortion. St. Vincent’s denied Plaintiff

                   Baker’s request, noting that it would place an undue hardship on

                   St. Vincent’s to accommodate it.

              f) Plaintiff Marcus Hollers is an employee of St. Vincent’s who

                   resides in Clay County, Florida. He is a registered nurse. Plaintiff

                   Hollers objects to being vaccinated for COVID-19 based on his

                   sincerely held religious beliefs, including his belief that his body

                   is a temple of the Holy Spirit and his objection to the use of

                   aborted fetal cells in the research and development of the

                   COVID-19 vaccines. St. Vincent’s denied Plaintiff Hollers’

                   request for a religious exemption from the Vaccine Mandate. In

                   previous years, St. Vincent’s granted Plaintiff Hollers a religious

                   exemption from St. Vincent’s annual influenza vaccination



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                   requirement. However, St. Vincent’s denied his request for a

                   religious exemption to the COVID-19 Vaccine Mandate.

               g) Plaintiff Jacey Sokeland is an employee of Sacred Heart who

                   resides in Okaloosa County, Florida. He applied for a religious

                   exemption to the Vaccine Mandate, which Sacred Heart denied,

                   claiming that accommodating his request would pose an undue

                   hardship.

               h) Robert Major is an employee of Sacred Heart who resides in

                   Santa Rosa County, Florida. He had COVID-19 in January of

                   2021, and has since recovered. He applied for a religious

                   exemption to the Vaccine Mandate based on his sincerely held

                   Christian religious beliefs, including, among other things, his

                   opposition to abortion. Through prayer, he concluded that he

                   must not receive any of the COVID-19 vaccinations.

         25.       Plaintiffs do not participate in the Defendants’ religious or

pastoral mission or perform any different duties from employees of secular

hospitals.

         26.       The Plaintiffs will separately file their declarations supporting

the relief requested herein.

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          27.      The Plaintiffs’ expert declarations supporting the relief

requested herein will be separately filed.

                               The “Vaccinate or Terminate” Policy

          28.      In late July, 2021, the Defendants announced, through a series of

formal and informal communications that, in addition to an annual

influenza vaccine, the Plaintiffs must receive two injections of the mRNA

Covid drugs or one injection of Johnson & Johnson’s formulation prior to

November 12, 2021 (the “Mandatory Deadline”), and must take the

influenza vaccine, or they will be constructively terminated either by being

placed on unpaid leave or “deemed” to have resigned. Contractors of the

hospital also face termination of their contracts or constructive termination

of their contracts. Collectively, the policy will be referred to as the “Vaccine

Mandate.”

          29.      The Defendants’ stated purpose for the Vaccine Mandate is that

“when everyone is vaccinated, everyone is safer:”13




13   October 22, 2021 memorandum to associates.


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         30.       The Defendants have stated that they will accommodate

religious and medical exceptions to the Vaccine Mandate.

         31.       None of the Plaintiffs want to take the injections. None of the

Plaintiffs believe that the injections are medically necessary in their

individual medical situation.

         32.       Many of the Plaintiffs were previously infected by the Covid

virus while working for Defendants during the peak of the pandemic. These

Plaintiffs now have durable and long-lasting natural immunity. The

injections offer no benefit whatsoever to these Plaintiffs, but create

unwanted risk of encountering adverse reactions to the vaccines, including

potentially death.14

         33.       The Defendants have repeatedly asserted, orally and in writing,

that Plaintiffs who do not agree to be injected will be “deemed to have

resigned.” In other words, they will be constructively terminated. The

Defendants said that employees who do not comply with the Vaccine

Mandate will be placed on unpaid leave and removed from work schedules.



14See e.g., Washington Post, “Coronavirus vaccines work. But this statistical illusion makes people think
they don’t”, available at https://www.washingtonpost.com/outlook/2021/08/31/covid-israel-
hospitalization-rates-simpsons-paradox/ (“overall, more vaccinated Israelis were in the hospital than
unvaccinated ones”).


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         34.       On October 1, 2021, Ascension Florida and Gulf Coast sent an

email to “Medical Staff Independent Physicians and Providers of Ascension

Sacred Heart.” The email described the “Process for Independent Providers

to Document Compliance with COVID-19 Vaccination Requirement.” In

relevant part, it provides:

                   Independent providers who do not submit proof of full
                   vaccination or are denied Medical or Religious Exemption
                   will have hospital privileges administratively suspended
                   starting November 12, 2021.

Copy attached as Exhibit 8.

         35.       The only vehicle Ascension Group provided for submitting a

“religious accommodation request” is through a web portal. The portal

contains a box that must be confirmed to continue processing the “request.”

The box says, among other things, that “I understand that should I fail to be

vaccinated or granted an exemption on or before 5:00pm on November 12,

2021, I will be suspended … Continued failure to comply will be deemed

voluntary resignation.” This is not voluntary resignation. This is merely

constructive termination. There’s nothing voluntary about it.

         36.       Defendants’ agents have also approached one or more of the

Plaintiffs and demanded “letters of resignation” when those persons have



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indicated they will not accept the injections. This includes Plaintiffs who did

not “check the box” by submitting a request for a religious accommodation.

They have been told by managers of Ascension Group that they are

“voluntarily resigning” if they do not accept the injections. These Plaintiffs

have refused to provide such a letter, because they do not agree to resign.

         37.       Defendants’ actual purpose for the Vaccine Mandate is to help

the federal government achieve its goal of 95%+ vaccination of the entire

U.S. population, to avoid penalties and sanctions, and to earn billions of

dollars in incentives.

         38.       The Vaccine Mandate does not include any consideration of

persons having durable and long-lasting natural immunity.

                            Prior Policies Regarding Other Vaccines

         39.       Ascension Group has a policy requiring employees to take

annual vaccines for influenza. Prior to 2021, employees could request and

easily obtain a “permanent” opt-out for religious, moral, or medical reasons.

These accommodations were readily granted by Ascension Group and many

of the Plaintiffs were accommodated by them.




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         40.       In April, 2021, Ascension Group notified employees including

the Plaintiffs that it was ending all permanent religious accommodations

and employees would have to renew such requests in the fall.

         41.       The        Ascension              Group   has   now   tied   requests   for

accommodations for influenza to the requests for accommodations for the

Covid vaccines, and a single request is made for both drugs.

         42.       Ascension Group has been denying all, or nearly all, religious

accommodation requests.

                     Covid Levels Have Declined to Very Low Levels

         43.       On October 22, 2021, Ascension Gulf Coast sent a memo to all

staff celebrating low Covid-19 levels in its nine affiliated hospitals:




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         44.       The October 22, 2021 memo says that the number of Covid

patients has been steadily falling from a peak of 500 at the beginning of

September, to 97 the previous week, and only 68 patients as of the date of

the memo — in nine hospitals, combined.

         45.       The very low numbers of Covid patients in Florida do not

support any legitimate business purpose justifying the Vaccine Mandate and

its direct and indirect costs.

      The Vaccines / The Policy Does Not Further a Compelling Interest

         46.       All three vaccines available in the U.S, Pfizer, Moderna, and

Johnson & Johnson (the “Vaccines”), share similar characteristics with each

other.

         47.       The Vaccines are non-sterilizing; in other words, a vaccinated

person can still become infected and transmit the virus to others.15 See

Declaration of James R. Neuenschwander, M.D., filed contemporaneously




15The CDC’s website states: “… preliminary evidence suggests that fully vaccinated people who do become
infected with the Delta variant can spread the virus to others.” https://www.cdc.gov/coronavirus/2019-
ncov/vaccines/fully-vaccinated-guidance.html. “[W]hat [the vaccines] can’t do anymore is prevent
transmission.”       CDC         Director      Rochelle        Walensky,       August      6,      2021,
https://www.cnn.com/2021/08/05/health/us-coronavirus-thursday/index.html.




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herewith (“Dr. Neu Declaration”) (“once infected, the vaccine does not

appear to do anything to prevent or stop transmission”).

         48.       The Vaccines do not provide any lasting immunity to the Covid-

19 virus. Recent studies suggest the Vaccines’ immunity begins to wane as

soon as five weeks after the second injection. Id.

         49.       At best, the Vaccines provide some additional protection against

serious hospitalization and death from a Covid-19 infection.

         50.       Under traditional definitions, the Vaccines are not “vaccines,”

but rather are more accurately described as therapeutics, since they do not

prevent infections but rather may only ameliorate the severity of the disease.

         51.       The most recent studies suggest that injected persons have the

same or greater viral load in their upper respiratory systems.

         52.       In other words, persons who have received the Covid injections

and are subsequently exposed to an infection are equally if not more

contagious than persons who have not received the Covid injections. Some

recent studies have suggested that vaccinated persons may even spread the

virus more easily, either because they have high levels of virus in their upper

respiratory area, or because they are more likely to be asymptomatic and

therefore less likely to know they are sick and take precautions.

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         53.       For this reason, being injected does not “protect others” or keep

other persons “safe.” See Dr. Neu Declaration.

         54.       The Defendants do not require patients to be vaccinated prior to

admission to their facilities.

         55.       Therefore, even if vaccination did prevent transmission — which

it does not — infected patients can transmit the virus to staff.

         56.       Therefore, Defendants’ claim that the Plaintiffs must be injected

to protect other staff and patients is a pretext.

         57.       The Covid-19 vaccines have generated more adverse event

reports in the Vaccine Adverse Event Reporting System (VAERS) than all

other vaccines combined.16 Even this remarkable figure is most likely

understated, quite possibly by a significant amount.

                        The Policy is Not the Least Restrictive Means

         58.       There are less restrictive means available to achieve the

legitimate purposes allegedly ascribed to vaccination.




16 See Declaration of Dr. Neu, ¶ IV (“This appears to be the most dangerous set of vaccines ever created

based on these [VAERS] numbers”).


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         59.       Alternative treatments including Remdesivir, steroids, Vitamin

D, ivermectin and monoclonal antibody treatments have been shown to

prevent infections and reduce severity and mortality from Covid infection.

         60.       Masks have been used and continue to be used to prevent viral

spread. Johns Hopkins’ website says “If you are infected with the

coronavirus and do not know it, a mask is very good at keeping your

respiratory droplets and particles from infecting others.”17

               Coercion from the Federal Administration (State Actor)

         61.       The Biden Administration has announced an aggressive policy

aimed at achieving very high rates of vaccination.

         62.       But the federal government cannot directly mandate vaccines;

this would be an unconstitutional invasion of the right to privacy and bodily

autonomy.18




17  https://www.hopkinsmedicine.org/health/conditions-and-diseases/coronavirus/coronavirus-face-
masks-what-you-need-to-know.
         18“[A] competent person has a constitutionally protected liberty interest in refusing
unwanted medical treatment[.]” Cruzan by Cruzan v. Dir., Missouri Dept. of Health, 497 U.S. 261,
278 (1990). “The forcible injection of medication into a nonconsenting person’s body represents
a substantial interference with that person’s liberty.” Washington v. Harper, 494 U.S. 210, 229
(1990). See also Washington v. Glucksberg, 521 U.S. 702, 725 (1997) (“Given the common-law rule
that forced medication was a battery, and the long legal tradition protecting the decision to refuse
unwanted medical treatment, our assumption was entirely consistent with this Nation’s history
and constitutional traditions.”).

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           63.     The Biden Administration is coercing private employers like the

Ascension Group to implement “vaccinate or terminate” policies, by, inter

alia:

                  a) threatening them with a fine of up to $700,000 per employee,19

                  b) threatening to cut off Medicare reimbursements to hospitals;20

                  c) issuing an executive order applying to broadly-defined

                       “federal contractors,”21 and

                  d) directing OSHA to formulate an emergency rule providing for

                       penalties and fines on employers who have not complied.22




19 See Adam Andrzejewski, Biden’s Vax Mandate to be Enforced by Fining Companies $70,000 to $700,000?,
Forbes (Sept. 28, 2021, 1:21 PM), https://www.forbes.com/sites/adamandrzejewski/2021/09/28/bidens-
vax-mandate-to-be-enforced-by-fining-companies-70000-to-700000/?sh=3be663791c0d (reporting that
Biden intends to enforce Covid-19 vaccine mandate on companies employing 100 or more people, and
noting an enforcement mechanism added to the House of Representatives’ $3.5 trillion reconciliation bill,
which would amend 29 U.S.C. § 666 to impose up to $700,000 in fines “for willful or repeated violations”
of OSHA rules likely to be used to enforce the vaccine mandate).
20See Biden-Harris Administration to Expand Vaccination Requirements for Health Care Settings, Centers for
Medicare & Medicaid Services, (Sept. 9, 2021), https://www.cms.gov/newsroom/press-releases/biden-
harris-administration-expand-vaccination-requirements-health-care-settings (“The Centers for Medicare &
Medicaid Services (CMS), in collaboration with the Centers for Disease Control and Prevention (CDC),
announced today that emergency regulations requiring vaccinations for nursing home workers will be
expanded to include hospitals, dialysis facilities, ambulatory surgical settings, and home health agencies,
among others, as a condition for participating in the Medicare and Medicaid programs.”)
21   See Proclamation No. 14042, 86 Fed. Reg. 50,985 (Sept. 9, 2021).
22See White House Announces Vaccination Mandate or Weekly Testing for Large Employers, and Vaccination
Mandate for Federal Employees and Contractors, National Law Review, Volume XI, Number 253 (Sept. 10,
2021),     available   at: https://www.natlawreview.com/article/white-house-announces-vaccination-
mandate-or-weekly-testing-large-employers-and (noting that OSHA “is developing an emergency
temporary standard” requiring that large employers impose vaccine mandate and that “OSHA will have
the ability to fine non-compliant businesses up to $14,000 per violation”).


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         64.       Upon          information               and   belief,   federal   officials       have

communicated with Ascension Group officials to pressure them directly to

implement these “private” mandates.

         65.       President Joe Biden began lobbying private companies like the

Ascension Group in July – just before the Vaccine Mandate was announced:

                   The President announced vaccination requirements for the
                   federal government in July and called on the private sector to
                   do more to encourage vaccination as well. Since that time,
                   employers, schools, nursing homes, restaurants, hospitals,
                   and cities in all 50 states have announced new vaccination
                   requirements. Since July, the share of job postings that require
                   vaccination are up 90%. And we know these requirements
                   work.

The White House, “Path out of the Pandemic: President Biden’s Covid-19

Action Plan,” available at: https://www.whitehouse.gov/covidplan/.

         66.       The Defendants’ Vaccine Mandate is part of a coordinated group

of large companies all across the United States requiring vaccines from

employees even though they stand to lose substantial amounts of money

from the direct and indirect consequences.23




23See, e.g., Southwest Airline’s vaccine mandate, even though CEO Gary Kelly said he has “never been in
favor of corporations imposing that kind of a mandate. I’m not in favor of that, never have been.” Available
at https://www.cnbc.com/2021/10/12/covid-vaccine-southwest-ceo-gary-kelly-says-he-never-wanted-
a-mandate.html.


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         67.       Ascension’s Management’s Discussion and Analysis of Financial

Condition and Results of Operations for Ascension for the year ending July

2021 disclosed that the Ascension “System received $1.8 billion of

distributions from the Provider Relief Fund[, established under the CARES

Act,] during both the fiscal years ended June 30, 2021 and 2020.” Copy

attached as Exhibit 3.

         68.       Page 20 of Ascension's Consolidated Financial Statements (Q4)

for Fiscal Year 2021 discloses that “Payments from the Provider Relief Fund

are to be used to prevent, prepare for, and respond to coronavirus, and shall

reimburse the recipient for health care related expenses and lost revenues

attributable to coronavirus.” Copy attached as Exhibit 4.

         69.       On September 9, 2021, CMS published a press release on its

website, recapitulating various public statements from the Biden

Administration over the previous weeks:24

                   The Biden-Harris Administration will require COVID-19
                   vaccination of staff within all Medicare and Medicaid-
                   certified facilities to protect both them and patients from the
                   virus and its more contagious Delta variant. Facilities across
                   the country should make efforts now to get health care staff


24 Available at https://www.cms.gov/newsroom/press-releases/biden-harris-administration-expand-

vaccination-requirements-health-care-settings.


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                   vaccinated to make sure they are in compliance when the rule
                   takes effect.

         70.       The Medicare/CMS penalties attached to Defendants’ potential

failure to meet federal government targets for vaccination would make

Defendants financially non-viable.

                                      Public Function (State Actor)

         71.       The Ascension Group’s Vaccine Mandate implements and

furthers the traditional state goal of public health management.

         72.       Mandatory vaccination in Florida is reserved to the State Health

Officer. See, e.g, Florida Statutes § 381.00315.

         73.       The Vaccine Mandate is a mandatory vaccination policy aimed

at broad public health objectives that have traditionally been the province of

government. Implementing and enforcing a vaccination mandate in

response to a pandemic is traditionally a public function. See S. Bay United

Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613 (2020), 141 S. Ct. 10, 12,

208 L.Ed.2d 155, 156 (2020) (“Our Constitution principally entrusts the safety

and the health of the people to the politically accountable officials of the

States to guard and protect.”) (quotes omitted), Jacobson v. Massachusetts, 197

U.S. 11, 29, 25 S. Ct. 358, 362 (1905) (“[I]t is equally true that in every well-


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ordered society charged with the duty of conserving the safety of its

members the rights of the individual in respect of his liberty may at times,

under the pressure of great dangers, be subjected to such restraint, to be

enforced by reasonable regulations, as the safety of the general public may

demand,” emphasis added).

         74.       The Vaccine Mandate constitutes performance of a public

function with the government’s acquiescence. See, e.g., Marsh v. Alabama, 326

U.S. 501, 507, 66 S. Ct. 276, 279 (1946) (“And even had there been no express

franchise but mere acquiescence by the State in the corporation’s use of its

property as a segment of the four-lane highway, operation of all the

highway, including the segment owned by the corporation, would still have

been performance of a public function and discrimination would certainly

have been illegal.”).

         75.       The Vaccines are the property of the federal government, and

remain the property of the federal government until they are injected into

citizens:

                   At this time, all COVID-19 vaccine in the United States has
                   been purchased by the United States Government for
                   administration exclusively by enrolled providers through the
                   CDC COVID-19 Vaccination Program. Vaccine remains U.S.


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                   government property until administered to the vaccination
                   recipient.

CDC             Website             (https://www.cdc.gov/vaccines/covid-19/provider-

enrollment.html).

         76.       Therefore, the Vaccine Mandate is intended to assist the federal

government with delivering its property into the bodies of citizens,

including the Plaintiffs.

         77.       The Defendants’ broad, undifferentiated, non-individualized

vaccination policy does not reduce the spread of the virus in the hospitals,

or prevent patient or staff infections, but serves only to help further the

government’s stated goal of reaching certain population rates of vaccination.

         78.       Ascension Group operated throughout 2020 and most of 2021

without a Vaccine Mandate, during which time many if not most of its staff

were exposed to the Covid virus.

         79.       Survival rates of confirmed COVID infected patients who

survive between ages 20-50 is 99.98%, and between ages 50-70 is 99.5%. The

Plaintiffs are all aged between 20 and 70. Many of them have acquired

natural immunities, and their chances of survival are much higher than these

figures. In other words, there is no statistical benefit to the Ascension Group


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in terms of reduced mortality over baseline levels arising from the Vaccine

Mandate.

         80.       Therefore, there is no legitimate business purpose furthered by

the policy.

         81.       The federal government has tied various financial incentives and

payments to the Ascension Group’s compliance with its vaccination

objectives.

         82.       On October 15, 2021, Plaintiffs sent Defendants a letter

demanding their compliance with applicable law and providing a deadline

of October 19, 2021 to respond. Defendants did not respond to the demand

letter by that deadline (or afterward).

         83.       Although counsel for the Plaintiffs have significantly limited

Plaintiffs’ liability for fees, the Plaintiffs have incurred attorney’s fees and

costs in bringing this action.

                     COUNT I – DECLARATORY — STATE ACTOR

         84.       Paragraphs 1-83 are incorporated herein.

         85.       There are three tests for determining when a private party is

acting under color of state law. The Public Function Test, State Compulsion



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Test, and the Nexus/Joint Action Test. Focus on the Family v. Pinellas Suncoast

Transit Auth., 344 F.3d 1263, 1276-77 (11th Cir. 2003).

         86.       Defendants are subject to constitutional limitations when they

act as a state actor. See Willis v. Univ. Health Services, Inc., 993 F.2d 837, 840

(11th Cir. 1993) (“A private hospital is subject to the provisions of 42 U.S.C.

§ 1983 and the Fourteenth Amendment only if its activities are significantly

affected with state involvement,” internal cites, quotes, brackets omitted).

         87.       “The public function test limits state action to instances where

private actors are performing functions traditionally the exclusive

prerogative of the state.” Id. (internal quotes omitted).

         88.       “The state compulsion test limits state action to instances where

the government has coerced or at least significantly encouraged the action

alleged to violate the Constitution.” Id. (internal quotes omitted, emphasis

added).

         89.       Ascension Group is a state actor under both the Public Function

Test and the State Compulsion Test, since it is undertaking public health

functions traditionally the exclusive prerogative of the state, and has been

coerced and significantly encouraged by the federal government to violation

the Plaintiffs’ Constitutional rights.

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         90.       It is manifestly obvious that, but for the encouragement and

coercion of the federal government, the Defendants would not undertake

such a destructive and irrational policy as terminating healthcare workers in

the midst of a pandemic but for the federal government’s myriad policies

designed to coerce Defendants into adopting the Vaccine Mandate.

         91.       In other words, the federal government has entered into the

Defendants’ decision-making process, such that the Defendants’ choices

may be deemed those of the federal government.

         92.       There is a bona-fide, actual and present need for a declaration

over the relative rights and duties between the Plaintiffs and the Defendants,

and this declaration is not propounded from mere curiosity or to obtain legal

advice.

         93.       Pursuant to Fed. R. Civ. P. 57, the Court may order a speedy

hearing of this declaratory action.

         94.       This Court should declare that the Defendants are state actors

relative to the Vaccine Mandate, and that Defendants are entitled to

statutory and constitutional protections that apply to government actors.




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         95.       Pursuant to 42 U.S.C. § 1983, Plaintiffs are entitled to temporary,

preliminary, and permanent injunctive relief restraining Ascension Group

from enforcing the Vaccine Mandate.

                 COUNT II – VIOLATION OF RIGHT TO PRIVACY

         96.       Paragraphs 1-91 are incorporated herein.

         97.       Since the Defendants are state actors, they are subject to

constitutional limitations and scrutiny.

         98.       The Vaccine Mandate violates Plaintiffs’ right to privacy

guaranteed by Art. I, § 23 of the Florida Constitution.

         99.       The United States Supreme Court has directed lower courts to

test a compelled vaccination law against the constitution of the

individual state. Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11, 26

(1905).

         100. Florida law provides that compelling an unwanted "medical

treatment" violates Florida's fundamental right to privacy — Article I, § 23

of the Florida constitution — and citizens’ right to refuse unwanted medical

treatments. Green v. Alachua County, --- So.3d ---, 2021 WL 2387983 (Fla. 1st

DCA 2021); Machovec v. Palm Beach Cnty., 310 So. 3d 941 (Fla. 4th DCA 2021).

“[A]ny compelled intrusion into the human body implicates significant,

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constitutionally protected privacy interests.” Missouri v. McNeely, 569 U.S.

141, 143 (2013).

         101. “If a challenged law implicates Florida's right to privacy, the

burden shifts to the government to prove that the law furthers a compelling

state interest in the least restrictive way”—also known as the “strict

scrutiny” standard. Green, 2021 WL at *6 (citing Gainesville Woman Care, LLC

v. State, 210 So. 3d 1243, 1260 (Fla. 2017)).

         102. This “strict scrutiny” standard applies equally when the

government enforces laws, and for government action when it enforces

workplace policies as an employer. See City of N. Miami v. Kurtz, 653 So. 2d

1025, 1028 (Fla. 1995).

         103. There can be no doubt that the Vaccine Mandate is a medical

treatment which, when unwanted, violates Plaintiffs’ right to refuse medical

treatment. See Green, 2021 WL at * 7 (“the supreme court has construed this

fundamental right to be so broad as to include the complete freedom of a

person to control his own body.”). It invades Plaintiffs’ privacy. By their

nature, vaccines extend far beyond the workplace into “a person’s private or

home life,” “alter one’s physical person,” and permanently modify a



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citizen’s corporeal being — the opposite of a “temporary and de minimus

interference[.]” Id. at *33 (Lewis, J. dissenting).

         104. The Defendants’ Vaccine Mandate facially interferes with its

employees’ right to refuse unwanted medical treatments, implicates

Plaintiffs’         fundamental              right         to   privacy,   and   is   “presumptively

unconstitutional.” Green, 2021 WL at *5, 10.

         105. Under Florida law, if a challenged policy implicates a privacy

right, the burden shifts to the state actor “to prove that the law further[s] a

compelling state interest in the least restrictive way.” Gainesville Woman Care,

210 So. 3d at 1260. When the state actor fails to offer evidence to demonstrate

a compelling state interest, the trial court then is absolved of having to make

any finding to that effect. See id. at 1260–61.

         106. The Vaccine Mandate also violates Plaintiffs’ fundamental right

to privacy guaranteed by the federal Constitution and secured by the

Fourteenth Amendment. “[A] competent person has a constitutionally

protected liberty interest in refusing unwanted medical treatment[.]” Cruzan

by Cruzan v. Dir., Mo. Dept. of Health, 497 U.S. 261, 278 (1990). “The forcible

injection of medication into a nonconsenting person’s body represents a

substantial interference with that person’s liberty.” Washington v. Harper, 494

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U.S. 210, 229 (1990). See also Washington v. Glucksberg, 521 U.S. 702, 725 (1997)

(“Given the common-law rule that forced medication was a battery, and the

long legal tradition protecting the decision to refuse unwanted medical

treatment, our assumption was entirely consistent with this Nation’s history

and constitutional traditions.”).

         107. The threat of termination of employment is, by nature, coercive.

See, e.g., Am. Fed’n of State, Cty. & Mun. Emps. Council 79 v. Rick Scott, 717 F.3d

851, 874 (11th Cir. 2013) (“In effect, the State is offering its employees this

Hobson’s choice: either they relinquish their Fourth Amendment rights and

produce a urine sample which carries the potential for termination, or they

accept termination immediately … To begin with, we do not agree that

employees’ submission to drug testing, on pain of termination, constitutes

consent under governing Supreme Court case law”). “Employees who must

submit to a drug test or be fired are hardly acting voluntarily, free of either

express or implied duress and coercion.” Id.

         108. The Plaintiffs, who must all submit to vaccination “or be fired[,]

are hardly acting voluntarily, free of either express or implied duress and

coercion.” Id.



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         109. In Green v. Alachua Cty., 2021 WL 2387983 (Fla. 1st DCA 2021),

Florida’s First DCA found that mask mandates are presumptively

unconstitutional because they violate citizens’ constitutional right to

privacy. “The right of privacy is a fundamental one, expressly protected by

the Florida Constitution, and any law that implicates it is presumptively

unconstitutional, such that it must be subject to strict scrutiny and justified

as the least restrictive means to serve a compelling governmental interest.”

Id.

         110. There is a bona-fide, actual and present need for a declaration

over the relative rights and duties between the Plaintiffs and the Defendants,

and this declaration is not propounded from mere curiosity or to obtain legal

advice.

         111. Pursuant to Fed. R. Civ. P. 57, the Court may order a speedy

hearing of this declaratory action.

         112. This Court should declare that the Vaccine Mandate is

presumptively unconstitutional under Florida’s Right to Privacy, Art. I, § 23,

Fla. Const., and under the 14th Amendment of the Constitution; and

therefore the Defendants must prove that the Vaccine Mandate furthers a

compelling state interest using the least restrictive means.

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                                          COUNT III – TITLE VII

           113. Paragraphs 1-45 and Paragraph 83 are incorporated herein.

           114. Pursuing administrative remedies with the EEOC under Title VII

or the Florida Commission on Human Relations under Florida’s Civil Rights

Act of 1992 would be futile, because neither statute provides discriminated

employees with access to emergency injunctive relief.25

           115. In 2017, the Attorney General of the United States published a

memorandum titled Federal Law Protections for Religious Liberty. The AG’s

memo begins by reciting the primary significance of religious liberty in the

United States:26

                   Religious liberty is a foundational principle of enduring
                   importance in America, enshrined in our Constitution and
                   other sources of federal law. As James Madison explained in
                   his Memorial and Remonstrance Against Religious
                   Assessments, the free exercise of religion “is in its nature an
                   unalienable right” because the duty owed to one’s Creator “is
                   precedent, both in order of time and in degree of obligation,
                   to the claims of Civil Society.” Religious liberty is not merely
                   a right to personal religious beliefs or even to worship in a
                   sacred place. It also encompasses religious observance and
                   practice. Except in the narrowest circumstances, no one
                   should be forced to choose between living out his or her faith

25Injunctive relief is not one of the available forms of relief under the Florida Civil Rights Act’s
administrative remedies. And, Title VII only provides for injunctive relief in the context of a settlement
agreement between the EEOC and an employer.
26   Federal Law Protections for Religious Liberty, 82 Fed. Reg. 49668-01, 49668 (Oct. 26, 2017).


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                   and complying with the law. Therefore, to the greatest extent
                   practicable and permitted by law, religious observance and
                   practice should be reasonably accommodated in all
                   government activity, including employment, contracting, and
                   programming.

                   … In the United States, the free exercise of religion is not a
                   mere policy preference to be traded against other policy
                   preferences. It is a fundamental right.

         116. Title VII of the Civil Rights Act prohibits Defendants from

discriminating against Plaintiffs because of their sincerely held religious

beliefs. 42 U.S.C. § 2000e-2(a) (“It shall be an unlawful employment practice

for an employer . . . to fail or refuse to hire or to discharge any individual, or

otherwise to discriminate against any individual with respect to his

compensation, terms, conditions, or privileges of employment because of

such individual’s . . . religion . . . .”).

         117. Defendants have a duty under Title VII to provide religious

exemptions and accommodations to those with sincerely held religious

objections to the Vaccine Mandate.

         118. By            broadly          denying       Plaintiffs’   requests   for   religious

accommodation, Defendants are violating federal law’s requirement that

sincerely held religious belief be protected and accommodated. Id.




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         119. Similarly, Florida law guarantees employees in corporations

with more than 15 employees similar protections for their religious liberties.

See Florida Statutes §§ 760.01-760.11 and 509.092 (the “Florida Civil Rights

Act”).

         120. Unlike Title VII, the Florida Civil Rights Act does not include a

broad exclusion for religiously-based organizations as such, but only those

organizations which condition employment on a particular faith tradition:

                   This section shall not apply to any religious corporation,
                   association, educational institution, or society which
                   conditions opportunities in the area of employment or public
                   accommodation to members of that religious corporation,
                   association, educational institution, or society or to persons
                   who subscribe to its tenets or beliefs.

§ 760.10, Fla. Stat. Ann. (emphasis added).

         121. There is a bona-fide, actual and present need for a declaration

over the relative rights and duties between the Plaintiffs and the Defendants,

and this declaration is not propounded from mere curiosity or to obtain legal

advice.

         122. Pursuant to Fed. R. Civ. P. 57, the Court may order a speedy

hearing of this declaratory action.




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         123. Pursuant to Title VII and Florida’s Civil Rights Act of 1992, this

Court should declare that the Defendants have engaged in unlawful

religious discrimination.

         124. Pursuant to 42 U.S.C. § 1983, Plaintiffs are entitled to temporary,

preliminary, and permanent injunctive relief restraining Ascension Group

from enforcing the Vaccine Mandate.

                                                 Prayer for Relief

         WHEREFORE, Plaintiffs pray for judgment in their favor and against

the Defendants as follows:

                                                       COUNT I

         A declaration that the Defendants are state actors relative to the

Vaccine Mandate, and that Defendants are entitled to statutory and

constitutional protections that apply to government actors.

                                                      COUNT II

         A      declaration            that       the      Vaccine   Mandate   is   presumptively

unconstitutional under Florida’s Right to Privacy, Art. I, § 23, Fla. Const.,

and/or under the 14th Amendment of the Constitution; and therefore the

Defendants must prove that the Vaccine Mandate furthers a compelling state

interest using the least restrictive means.

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                                                     COUNT III

         A declaration under 42 U.S.C. § 1983 that the Plaintiffs are violating

Title VII by discriminating against the Plaintiffs’ religious beliefs.

                                                  ALL COUNTS

         Provide temporary, preliminary and permanent injunctive relief,

award Plaintiffs their damages, attorney’s fees and costs, and, order all such

further relief as the Court deems necessary and just.

Respectfully submitted,

         Dated this 28th day of October, 2021.




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                                                  BOATMAN RICCI

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                                                VERIFICATION

         I, CARLEIGH HARRISON, am over the age of eighteen years and a

Plaintiff in this action. The statements and allegations that pertain to me or

which I make in this VERIFIED COMPLAINT are true and correct, and

based upon my personal knowledge (unless otherwise indicated). If called

upon to testify to their truthfulness, I would and could do so competently. I

declare under penalty of perjury, under the laws of the United States, that

the foregoing statements are true and correct to the best of my knowledge.

Dated:
October 27, 2021

/s/ Carleigh Harrison
CARLEIGH HARRISON

(Original Signature retained by Counsel)


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